                  Case 4:11-cr-00290-LPR                      Document 616             Filed 11/05/15               Page 1 of 2
A0245D       (Rev 09/11) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT                                                             NOV o5 2015
                                                         Eastern District of Arkansas                           JA11;e1·"1~.efWtl.<ril<,,.Ct'ERK
                                                                                                                By:~
         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case-""t".;-'ll::IJ*'-.&..1.-~...L..4f,,.D~EP,,.......CLLE""""R-K-
                             V.                                          (For Revocation of Probation or Supervised Release)
               SHANNON PITTMAN

                                                                         CaseNo. 4:11CR00290-13JLH
                                                                         USM No. 27010-009
                                                                          Arkie Byrd
                                                                                                      Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)          Special, General, Standard           of the tenn of supervision.
ri/ was found in violation of condition(s)            _S_t_a_n_d_a_rd_ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                          Violation Ended
1                                 Failure to complete community confinement term as directed                         08/17/2015

2                                 Failure to submit monthly reports as directed                                      07/31/2015

3                                 Failure to satisfy court imposed special assessment fee                            10/19/2015

4                                 Unlawful use of a controlled substance                                             09/03/2015

       The defendant is sentenced as provided in pages 2 through _ _2_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pai_d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0741                      11/05/2015
                                                                                                          Imposition of Judgment
Defendant's Year of Birth:          1978

City and State of Defendant's Residence:                                                                Signature of Judge
Horseshoe Bend, Arkansas
                                                                          J. Leon Holmes                                       U.S. District Judge
                                                                                                    Name and Title of Judge

                                                                          11/05/2015
                                                                                                                Date
                       Case 4:11-cr-00290-LPR                     Document 616      Filed 11/05/15      Page 2 of 2
  AO 2450       (Rev 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                               Judgment -   Page   -=2- of        2
  DEFENDANT: SHANNON PITTMAN
  CASE NUMBER: 4:11CR00290-13 JLH


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS with no term of supervised release to follow




     './ The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant participate in nonresidential substance abuse treatment during incarceration.




     D The defendant is remanded to the custody of the United States Marshal.

     D      The defendant shall surrender to the United States Marshal for this district:
            D     at  - - - - - - - - - D a.m.                       D p.m.    on
            D     as notified by the United States Marshal.

     './ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ii{ before 2 p.m. on _12_1_0_71_2_0_15_ _ _ _ _ __
            D     as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                    to

  at - - - - - - - - - - - - - - w i t h a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                              By ---------------------~
                                                                                     DEPUTY UNITED STATES MARSHAL
